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                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN


  RANI FOODS, LP

                      Plaintiff,
                                                     Case No. ______________
            v.

  RANI FOOD LLC,                                     JURY TRIAL DEMANDED

                      Defendant.

                      COMPLAINT FOR TRADEMARK INFRINGEMENT

            Plaintiff Rani Foods, LP (“Rani” or “Plaintiff”) files this Complaint for Trademark

Infringement against Defendant Rani Food LLC (“Defendant”) and alleges as follows:

                                           THE PARTIES

           1.     Rani Foods, LP is a Texas limited partnership, having a principal place of business

at 6603 Theall Road, Houston, Texas 77066.

           2.     Upon information and belief, Defendant Rani Food LLC is a Michigan limited

liability company, having a principal place of business at 3500 West Hampton Ct. NE, Grand

Rapids Michigan 49546.

                                   JURISDICTION AND VENUE

            3.    This Court has subject matter jurisdiction over this action pursuant to the Lanham

Act, 15 U.S.C. § 1121(a), and 28 U.S.C. §§ 1331 and 1338(a). This Court has supplemental

jurisdiction over Plaintiff’s state law claim pursuant to 28 U.S.C. § 1367(a).

            4.    Defendant is subject to this Court’s general personal jurisdiction because it is a

Michigan limited liability company. Defendant has a place of business within the state of Michigan

and within this District and regularly conducts business, directly and indirectly, within the state of

Michigan. See IOU Cent., Inc. v. Div. Ave., LLC, No. 1:21-CV-811, 2022 WL 7344947, at *4


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(W.D. Mich. Oct. 13, 2022) (“A limited liability company is subject to general personal

jurisdiction in Michigan when it “carr[ies] on [ ] a continuous and systematic part of its general

business within the state.”). Personal jurisdiction is also proper because Plaintiff’s causes of action

arise out of and relate to Defendant’s contacts with the state of Michigan.

          5.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because Defendant

is a Michigan limited liability company, and thus Defendant “resides” in this district for venue

purposes. Additionally, venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because

a substantial part of the events or omissions giving rise to the claim occurred in this district.

                                         BACKGROUND

   A. Plaintiff’s Business and Trademarks

          6.    Plaintiff has been in the business of selling spices and other international food

products since 1979. Shortly after its founding, the company began using the Rani name (the “Rani

Mark”) to market and brand its products.

          7.    The Rani brand is an international brand specializing in Indian foods. Rani has a

selection of over 3,000 products sold worldwide. Rani direct ships its products to consumers in all

50 states. In addition to direct shipping, Rani sells products using the RANI name to brick and

mortar retail stores in multiple locations including, Houston, Las Vegas, California, New Mexico,

and Arizona. Rani also sells its products through online retailers including Amazon, Walmart, and

Target.

          8.    Rani has been using the Rani Mark since 1979 in connection with its various

products, retail store services and online services.

          9.    Rani is the owner of U.S. Trademark Registration No. 4,055,459 for the following

design mark (the “Rani Design Mark”):



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The Rani Design Mark is registered in connection with the following services:

       IC 029. US 046. G & S: Indian products, namely, dried beans, lentils, clarified
       butter, namely ghee, edible oils, namely, corn oil, sesame oil, almond oil and
       coconut oil, and pickles.

       IC 030. US 046. G & S: products, namely, 70 varieties of dried spices, ground flour,
       durum wheat flour, and fruit chutney.

See Exhibit A. Rani has continuously used the Rani Design Mark in United States commerce since

at least as early as June of 1999. See id.

       10.     Rani is also the owner of U.S. Trademark Registration No. 4,034,392 for the mark

RANI’S WOLRD FOODS (the “Rani World Mark”) in connection with the following services:

       IC 035. US 100 101 102. G & S: retail grocery store services and online retail
       grocery store services.

See Exhibit B. Rani has continuously used the Rani World Mark in United States commerce since

at least as early as June 2009. See id.

       11.     Rani is also the owner of U.S. Trademark Registration No. 7,148,790 for the mark

RANI BRAND (the “Rani Brand Mark”) in connection with the following services:

       IC 029. US 046. G & S: Indian products, namely, dried beans, dried lentils, clarified butter,
       namely, ghee, edible oils, namely, corn oil, sesame oil, almond oil and coconut oil, and
       pickles.

       IC 030. US 046. G & S: Indian products, namely, 70 varieties of dried spices, ground flour,
       durum wheat flour, and fruit chutney; Seasonings, namely, seasoning powder, seasoning
       pastes, seasoning spices for food; Papads in the nature of flat bread; Pappadums in the
       nature of flat bread; Curry pastes; tamarind for use as a condiment.


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See Exhibit C. Rani has continuously used the Rani Brand Mark in United States commerce since

at least as early as June 1999. See id.

       12.       Rani has continuously used its trademarks (the “Rani Marks”) in connection with

international food products and related products throughout the United States for decades.

       13.       Examples of Rani’s use of its Rani Marks are shown below:




       14.       As a result of Rani’s longstanding and continuous use, extensive sales, advertising,

and promotion of the Rani Marks, the Rani Marks have become well known and accepted by the

public and serve to distinguish Rani’s products from those of others.

       15.       The    Rani    Marks     are     prominently       presented   on   Rani’s   website

(https://ranibrand.com/), advertisements, and product packaging. Substantial amounts of time,

effort and money have been expended over the years ensuring that the purchasing public associates

the Rani Marks exclusively with Rani.

       16.       As a result of Rani’s efforts and commercial success in advertising, marketing, and

promoting the Rani goods and services, Rani has generated a substantial and valuable goodwill in

the Rani Marks, and the Rani Marks have become intangible assets of substantial commercial

value to Rani.



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 B. Defendant’s Infringing Conduct

       17.     Defendant has recently begun marketing, promoting, advertising, offering,

distributing and selling international food products using the “Rani” name. Defendant sells

products infringing Rani’s Marks (the “Infringing Products”) both online and in store at “all Meijer

locations.” https://ranifoodsusa.com/.




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       18.     Examples of the Infringing Products are shown below:




       19.     Additional examples displaying Defendant’s infringing uses are attached hereto as

Exhibit D.

       20.     According to the Michigan Secretary of State’s records, Defendant was formed on

February 3, 2022. See Exhibit E. And Defendant filed two trademark applications with the United

States Patent and Trademark Office (“USPTO”) indicating a date of first use of July 1, 2022.

Exhibit F. Thus, Rani’s use of the Rani Mark predates Defendant’s first use of the term “Rani”

by over forty (40) years.

       21.     In response to Defendant’s trademark applications, Rani promptly filed a Letter of

Protest with the USPTO articulating the similarities between the proposed marks and the Rani

Marks and resulting likelihood of customer confusion from Defendant’s proposed marks. See

Exhibit G.

       22.     Substantiating Rani’s assertions, the USPTO issued a Non-Final Action of refusal

based on a likelihood of confusion with the Rani Marks. See Exhibit H.


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       23.     Defendant is directly competing with Rani in that it is marketing, promoting,

advertising, offering, distributing, and selling virtually identical or closely similar branded food

products to the same customers or the same or similar classes of customers as Rani under a mark

causing actual confusion with the Rani Marks.

       24.     Rani has not licensed or otherwise authorized the Defendant to use its highly

valuable and well-established Rani Marks in any manner whatsoever.

       25.     Defendant knew of Rani’s prior use of the Rani Marks, was aware of the goodwill

and market value of the Rani Marks, and intentionally chose to use and trade off the goodwill

associated with the Rani Marks to suggest a false affiliation between Rani’s goods and services

and Defendant’s goods and services, or to deliberately mislead and confuse customers about the

source of the goods.

       26.     Rani has sent Defendant two letters providing Defendant notice of its unlawful

infringement and demanding that Defendant cease any further marketing, offering, and selling of

the Infringing Products and immediately remove such products from its distribution channels.

       27.     Rani did not receive any response to its letters and Defendant has continued to sell

and offer for sale the Infringing Products. The Defendant’s unauthorized, unlawful, and intentional

use of the Rani Marks has caused, and will continue to cause, a likelihood of confusion among

consumers and potential customers as to the source or origin of the Infringing Products.

       28.     Defendant’s infringing use of the Rani Marks has resulted in actual confusion.

Specifically, consumers have contacted Rani after mistakenly believing that Rani is the source of

the Infringing Products.

       29.     As a direct and proximate result of Defendant’s unauthorized conduct, Rani has

been and will continue to be damaged by likely and actual confusion among customers and



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potential customers as to Rani’s association or endorsement of the Infringing Products, in part, in

ways that cannot be adequately remedied by monetary damages.

        30.     Rani brings this action to stop Defendant’s unauthorized use of the Rani Marks,

which is causing actual confusion in the marketplace and damaging Rani’s reputation.

                                         COUNT I
                      Federal Trademark Infringement – Registered Mark

        31.     Plaintiff re-alleges and incorporates the foregoing paragraphs by reference as if

fully set forth herein.

        32.     Rani owns valid and enforceable rights in the Rani Marks in connection with the

goods and services it offers and sells in connection therewith and has possessed such rights at all

times material hereto.

        33.     Rani’s use of its Rani Marks in connection with international food products

predates any use by Defendant.

        34.     Defendant’s use of a mark containing RANI and/or colorable imitations of the

foregoing in connection with international food products, is likely to cause confusion, to cause

mistake, and to deceive as to the affiliation, connection, or association of Defendant with Plaintiff

or as to the origin, sponsorship, or approval of Defendant’s services or commercial activities by

Plaintiff.    Accordingly, Defendant’s conduct infringes U.S. Trademark Registration No.

4,055,459, No. 4,034,392, and No. 7,148,790 under 15 U.S.C. § 1114(a).

        35.     Defendant knew of the Rani Marks since at least as early as February 2023. Thus,

Defendant’s use of the marks constitutes and exceptional case and willful infringement of U.S.

Trademark Registration No. 4,055,459, No. 4,034,392, and No. 7,148,790.

        36.     Rani has not authorized, licensed, or otherwise condoned or consented to

Defendant’s use of the Rani Marks.


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        37.     Defendant’s conduct is causing immediate and irreparable harm and injury to

Plaintiff, and to its goodwill and reputation, and will continue to both damage Plaintiff and confuse

the public unless enjoined by this Court.

        38.     Plaintiff is entitled to (1) Defendant’s profits, (2) any damages sustained by the

Plaintiffs, (3) the costs of the action, and (4) enhanced damages and attorneys’ fees under 15 U.S.C.

§ 1117. Plaintiff is also entitled to preliminary and permanent injunctive relief under 15 U.S.C. §

1116. Unless Defendant is enjoined, Plaintiffs have no adequate remedy at law and will be

irreparably harmed.

                                        COUNT II
                    Federal Trademark Infringement – Unregistered Mark

        39.     Plaintiffs re-allege and incorporate the foregoing paragraphs by reference as if fully

set forth herein.

        40.     Rani owns valid and enforceable rights in the Rani Marks in connection with the

goods and services it offers and sells in connection therewith and has possessed such rights at all

times material hereto.

        41.     Rani’s use of its Rani Marks in connection with international food products

predates any use by Defendant.

        42.     As a result of Plaintiffs’ longstanding and continuous use in interstate commerce,

significant advertising and promotional activities, and widespread distribution of such efforts in

commerce in the United States, the Rani Marks have become well known and accepted by the

public and serve to distinguish Plaintiff’s goods and services from those of others, namely other

international food brands.

        43.     Defendant’s use of a mark containing RANI and/or colorable imitations of the

foregoing in connection with international food products is likely to cause confusion, to cause


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mistake, and to deceive as to the affiliation, connection, or association of Defendant with Plaintiff

or as to the origin, sponsorship, or approval of Defendant’s services or commercial activities by

Plaintiff. Accordingly, such use by Defendant of marks containing RANI infringes Plaintiff’s

common law rights in and to the Rani Marks under 15 U.S.C. § 1125(a).

        44.     Defendant knew of the Rani Marks since at least as early as February 2023. Thus,

Defendant’s use of a mark containing RANI after such knowledge constitutes an exceptional case

and willful infringement of Plaintiff’s marks.

        45.     Rani has not authorized, licensed, or otherwise condoned or consented to

Defendant’s use of the Rani Marks.

        46.     Defendant’s conduct is causing immediate and irreparable harm and injury to

Plaintiff, and to its goodwill and reputation, and will continue to both damage Plaintiff and confuse

the public unless enjoined by this Court.

        47.     Plaintiff is entitled to (1) Defendant’s profits, (2) any damages sustained by the

Plaintiff, (3) the costs of the action, and (4) enhanced damages and attorneys’ fees under 15 U.S.C.

§ 1117. Plaintiff is also entitled to preliminary and permanent injunctive relief under 15 U.S.C. §

1116. Unless Defendant is enjoined, Plaintiffs have no adequate remedy at law and will be

irreparably harmed.

                                        COUNT III
                  Federal Unfair Competition and False Designation of Origin

        48.      Plaintiff re-alleges and incorporates the foregoing paragraphs by reference as if

fully set forth herein.

        49.     Defendant’s use of a mark containing RANI and/or colorable imitations of the

foregoing in connection with international food products is likely to cause confusion, to cause

mistake, and to deceive as to the affiliation, connection, or association of Defendant with Plaintiff


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or as to the origin, sponsorship, or approval of Defendant’s services or commercial activities by

Plaintiff.

        50.     Defendant’s unauthorized use in commerce of the mark containing RANI and/or

colorable imitations of the foregoing herein constitutes use of a false designation of origin and

misleading description and representation of fact.

        51.     Defendant’s conduct has occurred in interstate commerce and substantially impacts

interstate commerce.

        52.     Defendant’s conduct as alleged herein constitutes unfair competition in violation of

Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a).

        53.     Rani has not authorized, licensed, or otherwise condoned or consented to

Defendant’s use of the Rani Marks.

        54.     Defendant’s conduct is causing immediate and irreparable harm and injury to

Plaintiff, and to its goodwill and reputation, and will continue to both damage Plaintiff and confuse

the public unless enjoined by this Court.

        55.     Plaintiff is entitled to (1) Defendant’s profits, (2) any damages sustained by the

Plaintiff, (3) the costs of the action, and (4) enhanced damages and attorneys’ fees under 15 U.S.C.

§ 1117. Plaintiff is also entitled to preliminary and permanent injunctive relief under 15 U.S.C. §

1116. Unless Defendant is enjoined, Plaintiffs have no adequate remedy at law and will be

irreparably harmed.

                                               COUNT IV
                          Violations of Michigan Consumer Protection Act

        20.     Plaintiffs re-allege and incorporates the foregoing paragraphs by reference as if

fully set forth herein.




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        56.      Defendant’s use of a mark containing RANI and/or colorable imitations of the

foregoing constitutes unfair and deceptive acts and practices in violation of the Michigan

Consumer Protection Act. Mich. Comp. Laws § 445.901 et seq.

        57.      Defendant’s unauthorized use of the Rani Marks in connection with their

promotion, offer and sale of the Infringing Products is likely to cause confusion or

misunderstanding as to the source, sponsorship, approval or certification of the goods in violation

of Mich. Comp. Laws § 445.903(1)(a).

        58.      Defendant’s unauthorized use of the Rani Marks has caused and, unless enjoined

by this Court, will continue to cause substantial injury to Plaintiff and the public. Based on

Defendant’s unlawful conduct Plaintiff is entitled to injunctive relief and to recover damages, and

as appropriate, punitive damages, costs and reasonable attorneys’ fees.

                                        ATTORNEYS’ FEES

        59.      Plaintiffs re-allege and incorporates the foregoing paragraphs by reference as if

fully set forth herein.

        60.      Plaintiffs seeks to recover their attorneys’ fees pursuant to the Lanham Act, 15

U.S.C. § 1117.

                                           JURY DEMAND

        61.      Plaintiffs hereby demand a trial by jury on all issues so triable.

                                              PRAYER

        WHEREFORE, Plaintiffs pray for judgment that:

        A.       Defendant’s use of a mark containing RANI or a colorable imitation thereof in

connection with international food products infringes U.S. Trademark Registration No. 4,055,459,

No. 4,034,392, and No. 7,148,790 under 15 U.S.C. § 1114(a);



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       B.      Defendant’s use of a mark containing RANI or a colorable imitation thereof in

connection with international food products infringes Plaintiffs’ rights in the Rani Marks under 15

U.S.C. § 1125(a);

       C.      Defendant’s use of a mark containing RANI or a colorable imitation thereof in

connection with international food products constitutes unfair competition in violation of Section

43(a) of the Lanham Act, 15 U.S.C. §1125(a);

       D.      Determine that this case is “exceptional” within the meaning of 15 U.S.C. §

1117(a);

       E.      Defendant’s use of a mark containing RANI or a colorable imitation thereof in

connection with international food products constitutes unfair and deceptive acts and practices in

violation of the Michigan Consumer Protection Act;

       F.      Plaintiffs be awarded damages for Defendant’s infringement;

       G.      Defendant’s infringement be preliminarily and permanently enjoined;

       H.      Defendant and its respective affiliates, subsidiaries, agents, servants, employees,

attorneys, and all persons acting in concert or participation with them who receive actual notice of

any order issuing an injunction (preliminary or permanent) be so enjoined from taking any acts

violative of the injunction;

       I.      Defendant be required to pay pre-judgment interest on all amounts awarded, and

post-judgment interest until paid, at the highest lawful rate; and

       J.      Plaintiffs be granted such other relief as the Court deems just and equitable.




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Dated: October 10, 2023            Respectfully submitted,

                                  /s/ Kristen L. Rewa
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